       Case 3:15-cr-02667-JLS                 Document 43            Filed 01/25/16           PageID.135         Page 1 of 4
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                        UNITED STATES DISTRICT Co
                                           SOUTHERN DISTRICT OF CALIFORNIA
              UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                                   v.                                 (For Offenses Committed On or After November 1, 1987)
                FELCIANO CARDENAS (2)
                                                                         Case Number:         ISCR2667-JLS

                                                                      Gary Paul Burcham
                                                                      Defendant's Attorney
REGISTRATION NO.                   51213298

D -
[g]   pleaded guilty to count(s)         1 of the Information

D was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                       Count
Title & Section                     N atnre of Offense                                                               NumberCs)
8 USC 1324(a)(1 )(A)(ii),           Conspiracy to transport certain aliens for financial gain                            I
(v)(I), (a)(1)(B)(i)




    The defendant is sentenced as provided in pages 2 through                   4            of this judgment.
The sentence is imposed pnrsuant to the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count( s)
D Count(s)                                                      is          dismissed on the motion ofthe United States.
                ---------------------
[g]   Assessment: $100.00 imposed



[g] No fine                D Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                      January 21. 2016
                                                                      Date of Imposition of Sentence



                                                                             . JANIS L. SAMMARTINO
                                                                      UNITED STATES DISTRICT JUDGE




                                                                                                                     15CR2667-JLS
       Case 3:15-cr-02667-JLS          Document 43         Filed 01/25/16       PageID.136        Page 2 of 4

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                FELCIANO CARDENAS (2)                                                    Judgment - Page 2 of 4
CASE NUMBER:              15CR2667-JLS

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
. Twenty-one (21) months




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 [8]   The court makes the following recommendations to the Bureau of Prisons:

           I. Incarceration in the District of Arizona
           2. GED and Vocational Training Programs


 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       o at _ _ _ _ _ _ _ A.M.                            on _____________________________________

       o     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
       o     on or before
       o     as notified by the United States Marshal.
       o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on   _________________________ w _______________________________
 at _______________ , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL




                                                                                                        ISCR2667-JLS
•                Case 3:15-cr-02667-JLS                 Document 43              Filed 01/25/16            PageID.137            Page 3 of 4

        AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

        DEFENDANT:                   FELCIANO CARDENAS (2)                                                                        Judgment - Page 3 of 4
        CASE NUMBER:                 ISCR2667-JLS

                                                            SUPERVISED RELEASE
    Upon release from imprisonment, the defendant shall be on supervised release for a term of:
    Three (3) years


         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
    custody of the Bureau of Prisons unless removed from the United States.
    The defendant shall not conunit another federal, state or local crime.
    For offenses committed on or after September 13. 1994:
    The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
    substance. The defendant shall submit to one drag test within 15 days of release from imprisonment and at least two periodic drag tests
    thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drag tests per month during the
    term of supervision, unless otherwise ordered by court.
              The above drag testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
              substance abuse. (Check, ifapplicable.)
              The defendant shall not possess a fITearm, anununition, destructive device, or any other dangerous weapon.
              The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
              Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
              The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
    D         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
              resides, works, is a student, or was convicted ofa qualifYing offense. (Check ifapplicable.)
    D         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

              If this judgment imposes a fme or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
         such fine or restitution that remains unpaid at the conunencement of the term of supervised release in accordance with the Schedule of
         Payments set forth in this judgment.
              The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
          with any special conditions imposed.
                                            STANDARD CONDITIONS OF SUPERVISION
         1)  the defendant shall not leave the judicial district without the pennission of the court Of probation officer;
         2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
         3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
         4)  the defendant shall support his or her dependents and meet other family responsibilities;
         5)  the defendant shall work regularly at a lawful occupation, ooless excused by the probation officer for schooling, training, or other acceptable
             reasons;
         6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
         7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
             any paraphernalia related to any controlled substances, except as prescribed by a physician;
         8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
         9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
             unless granted pennission to do so by the probation officer;
         10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
             observed in plain view of the probation officer;
         11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
         12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the permission of
             the court; and
         13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
             personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
             with such notification requirement.



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        Case 3:15-cr-02667-JLS         Document 43        Filed 01/25/16     PageID.138       Page 4 of 4
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:               FELCIANO CARDENAS (2)                                                Judgment - Page 4 of 4
CASE NUMBER:             l5CR2667-JLS

                                 SPECIAL CONDITIONS OF SUPERVISION

      1. Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
         Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
         or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
         revocation; the defendant shall warn any other residents that the premises may be subject to searches
         pursuant to this condition.

      2. Not enter or reside in the Republic of Mexico without permission ofthe court or probation officer.

      3. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

      4. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
         and counseling, as directed by the probation officer. Allow for reciprocal release of information between
         the probation officer and the treatment provider. May be required to contribute to the costs of services
         rendered in an amount to be determined by the probation officer, based on ability to pay.




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